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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                   ABILENE DIVISION

 IN RE:                                          §
                                                 §
 SHEKINAH OILFIELD SERVICES, INC.,               §               CASE NO. 21-10152
                                                 §
          DEBTOR.                                §

           AMENDED / CORRECTED NOTICE OF PROPOSED CONFIRMATION
                                 ORDER

In connection with the hearings set for July 6, 2022, the Debtor provides notice of the Debtor’s
proposed notice of confirmation hearing and plan related deadlines.

 Dated: July 6, 2022                     Respectfully submitted:

                                         WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                         By:     /s/ Jeff Carruth
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                                         ATTORNEYS FOR
                                         SHEKINAH OILFIELD SERVICES, INC.
                                         DEBTOR AND DEBTOR IN POSSESSION

                               CERTIFICATE OF SERVICE
A copy of the foregoing was provided only to all registered ECF users who have appeared in this
case.
                                                    /s/ Jeff Carruth
                                           JEFF CARRUTH




AMENDED / CORRECTED NOTICE OF PROPOSED CONFIRMATION ORDER — Page 1                     2171262.DOCX[1]
